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                                                            APPENDIX A

    Exhibit No.              Description                                             Basis for Sealing
                                                    At this time, Google requests that the Court to keep the current version of PX 003
                                                    under seal due to the potential inadvertent disclosure of privileged
                     Document produced by           communications. See Fed. R. Evid. 502(b).
                     Google in this matter, and
      PX 003                                        As to non-privileged portions of the document Google would only seek limited
                     bearing Bates No. GOOG-
                     AT-MDL-010689638               redactions of certain non-public financial and commercial information, including
                                                    revenues and revenue shares. Google’s proposed redactions would be narrowly
                                                    targeted and would still allow the public to understand PX 003’s meaning.
                                                    Google requests limited redactions of (1) certain non-public financial, accounting,
                                                    technical, and commercial information of Google’s; and (2) detailed charts
                                                    containing market-share analyses and calculations based either entirely or in part
                                                    on Google’s internal, non-public proprietary data. Google’s proposed redactions
                                                    are narrowly targeted and would still allow the public to understand PX 008’s
                     Excerpts from the Expert       meaning.
                     Report of Robin S. Lee, on     Specifically, Google seeks the following information in PX 008 to be kept under
      PX 008
                     behalf of Plaintiffs, dated    seal:
                     December 22, 20231                 •   P. 38 (Fig. 17): Worldwide indirect programmatic spending on open-web
                                                            display advertising by transaction type through Google’s AdX and
                                                            AdSense products;
                                                        •   P. 109 (Fn. 354): The percentage of AdX web publishers that sold no
                                                            mobile app or tablet app impressions in 2022;
                                                        •   P. 110 (¶ 273): Average CPMs for DV360 and Google Ads in 2022;



1
 As Plaintiffs’ expert reports are marked highly confidential in their entirety, Google has not filed proposed redacted versions on the
public docket. Google has instead included a description of the information within those exhibits it seeks to remain under seal.



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Exhibit No.         Description                                        Basis for Sealing
                                         •   P. 110 (¶ 275): Average share of impressions derived from web pages in
                                             2022, among publishers using AdX who offer both web and mobile app
                                             inventory;
                                         •   P. 170 (¶ 418): Calculations of Google’s operating profits in the DVAA
                                             product area ;
                                         •   P. 170 (Fn. 591): Quotes from Dr. Respess’s report regarding Google’s
                                             accounting policy, and Robin S. Lee’s statement reflecting the information
                                             from the quotes (i.e., the text of footnote 591);
                                         •   P. 197 (Fn. 691): Quotes from the transcript of Jessica Mok’s deposition
                                             regarding Google’s accounting policy;
                                         •   P. 198 (Fn. 696): The number of indirect open-web display impressions
                                             that AdX transacted worldwide in 2022;
                                         •   P. 199 (Fig. 47): Shares of worldwide indirect open-web display
                                             impressions transacted through ad exchanges;
                                         •   P. 200 (Fig. 48): Google AdX’s share of worldwide indirect open-web
                                             display impressions among ad exchanges in 2022;
                                         •   P. 200-201 (¶ 487): The proportions of display advertising transactions by
                                             U.S. publishers who engaged in indirect open-web advertising on AdX,
                                             AdSense, and DV360 that involve U.S. users;
                                         •   P. 201 (Fn. 703): The number of indirect open-web display impressions
                                             transacted by AdX to be served to U.S. users in 2022;
                                         •   P. 260 (¶ 629): Percentage of non-Google inventory in Google Ads’
                                             impressions in 2022, as well as the statement reflecting this percentage (i.e.,
                                             the last sentence of paragraph 629);
                                         •   P. 260 (Fn. 885): Percentage of non-Google inventory in Google Ads’
                                             open-web impressions for U.S. advertisers in 2022.
                                         •   P. 261 (Fig. 66): Avenues of Google Ads’ purchases;




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Exhibit No.         Description                                       Basis for Sealing
                                         •   P. 261 (¶ 630): AdX’s share of Google Ads’ worldwide indirect open-web
                                             display impressions on ad exchanges;
                                         •   P. 261 (¶ 630): Third-party exchanges’ share of Google Ads’ worldwide
                                             indirect open-web display impressions on ad exchanges;
                                         •   P. 261 (¶ 630): The percentage of the time when Google Ads (and AdX)
                                             wins the impression when it bids into an AdX auction;
                                         •   P. 261 (¶ 630): The percentage of the time when Google Ads wins the
                                             impression when it bids into a rival exchange;
                                         •   P. 261 (¶ 630): The statement that reflects the win rates when Google Ads
                                             bids into different ad exchanges (i.e., the last incomplete sentence in
                                             paragraph 630 on page 261);
                                         •   P. 261 (Fn. 889): The statement that reflects the percentage of the time
                                             when Google Ads wins the impression when it bids into a rival exchange
                                             (i.e., the first sentence of footnote 889);
                                         •   P. E-2 (Fig. 110): Google AdX’s average take rates in the January of 2021
                                             and 2022;
                                         •   P. E-2 (Fig. 110): Google AdX’s share of impressions in 2022;
                                         •   P. E-2 (Fig. 111): Google Ads’s average margins in the January of 2021
                                             and 2022 for different inventory sources;
                                         •   P. E-3 (Fig. 112): Average Google Ads’s margins for different ad
                                             exchanges in 2021 and 2022;
                                         •   P. E-3 (Fig. 113): Google Ads’s margin sensitivities (transactions through
                                             AdX) under different scenarios for 2021 and 2022;
                                         •   P. L-16 (¶ 62): Modifications made to the Poirot algorithm (i.e., the second
                                             sentence of paragraph 62);
                                         •   P. L-18 (Fn. 1460): Descriptions of Project Alchemist (i.e., quotes from
                                             GOOG-AT-MDL-006218271, as well as the text of footnote 1460);




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Exhibit No.            Description                                            Basis for Sealing
                                                 •   P. L-22 (¶ 77): Detailed descriptions of Project Bernanke and Content Ads
                                                     Targeting v2 (i.e., quotes in paragraph 77 on page L-22);
                                                 •   P. L-22 (Fn. 1473): Descriptions of Content Ads Targeting v2 (i.e., the
                                                     second sentence of the quotes from GOOG-AT-MDL-006218257);
                                                 •   P. M-1: Definition of Alchemist; and
                                                 •   P. M-1: Definition of CAT2.
                Document produced by
                                              As reflected in the public, redacted version filed herewith, Google requests
                Google in this matter, and
                                              limited redactions of certain non-public financial and commercial information, as
                bearing Bates No. GOOG-
  PX 015                                      well as non-public information reflecting recent and future strategies. Google’s
                AT-MDL-001970341
                                              proposed redactions are narrowly targeted and would still allow the public to
                toGOOG-AT-MDL-
                                              understand PX 015’s meaning.
                001970350
                                              Google requests limited redactions of certain non-public commercial and technical
                                              information regarding a Google product feature. Google’s proposed redactions are
                                              narrowly targeted and would still allow the public to understand PX 027’s
                                              meaning.
                                              Specifically, Google seeks the following information in PX 027 to be kept under
                Excerpts from the Expert      seal:
                Report of Rosa M.
  PX 027        Abrantes-Metz, on behalf of      •   P. 149-150 (¶ 282): Detailed descriptions of Project Poirot (i.e., the third,
                Plaintiffs, dated December           fourth, fifth, sixth, and seventh sentences in paragraph 282);
                22, 2023.                        •   P. 150 (¶ 283): Detailed description of Project Poirot (i.e., the third
                                                     sentence in paragraph 283);
                                                 •   P. 150 (Fn. 417): The quote from GOOG-DOJ-12059682 regarding Project
                                                     Poirot;
                                                 •   P. 150 (Fn. 418): The quote from GOOG-AT-MDL-007393541 regarding
                                                     Project Poirot; and




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Exhibit No.             Description                                             Basis for Sealing
                                                    •   P. 150 (Fn. 419): The quote from GOOG-AT-MDL-007393541 regarding
                                                        Project Poirot.
                                                 Google requests limited redactions of certain non-public technical, experimental,
                                                 and commercial information regarding certain Google product features, as well as
                                                 discussions of the underlying source code. Google’s proposed redactions are
                                                 narrowly targeted and would still allow the public to understand PX 029’s
                                                 meaning.
                                                 Specifically, Google seeks the following information in PX 029 to be kept under
                                                 seal:
                Excerpts from the Expert            •   P. 68 (Fn. 231): Descriptions of source code (i.e., the entire footnote 231
                Report of Ramamoorthi                   except for the Bates numbers of the documents cited therein);
  PX 029
                Ravi, on behalf of Plaintiffs,      •   P. 69 (Fn. 239): Descriptions of source code (i.e., quotes from
                dated December 22, 2023                 GOOGEDVA-SC-00018 and GOOGEDVA-SC-00020);
                                                    •   P. 104 (¶ 193): Description of the experiment that Google ran for a certain
                                                        model (i.e., the first sentence on page 104);
                                                    •   P. 104 (¶ 194): The current state of certain Google product features;
                                                    •   P. 104 (Fn. 426): Quotes from GOOG-DOJ-AT-02242745, regarding the
                                                        experiment that Google ran for a certain model;
                                                    •   P. 104 (Fn. 427): Quotes from GOOG-AT-MDL-006218271, regarding
                                                        the current state of certain Google product features.

                Excerpts from the Expert         Google requests limited redactions of certain non-public pricing information.
                Rebuttal Report of Rosa M.       Google’s proposed redactions are narrowly targeted and would still allow the
  PX 030        Abrantes-Metz, on behalf of      public to understand PX 030’s meaning.
                Plaintiffs, dated February       Specifically, Google seeks the following information in PX 030 to be kept under
                13, 2024                         seal:




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Exhibit No.            Description                                           Basis for Sealing
                                                •   P. 126 (¶ 316): The comparison of take rates between AdX and other ad
                                                    exchanges between 2020 and 2022;
                                                •   P. 126 (¶ 316): The comparison of take rates between AdX and other ad
                                                    exchanges in 2022.
                                             Google requests limited redactions of certain non-public technical and
                                             experimental information regarding certain Google product features. Google’s
                                             proposed redactions are narrowly targeted and would still allow the public to
                                             understand PX 032’s meaning.
                                             Specifically, Google seeks the following information in PX 032 to be kept under
                                             seal:
                                                •   P. 140 (Fn. 494): Descriptions of Project Bernanke (i.e., the text of footnote
                                                    494 and the quote from GOOG-DOJ-11810183);
                Excerpts from the Expert        •   P. 146-147 (¶ 221): Detailed descriptions of Project Poirot (i.e., the second
                Report of Gabriel                   and third sentences of paragraph 221);
  PX 032        Weintraub, on behalf of         •   P. 146-147 (Fn. 516): Detailed descriptions of Project Poirot (i.e., the text
                Plaintiffs, dated December          of footnote 516, as well as the quotes from the documents cited therein);
                22, 2023                        •   P. 147 (¶ 222): Detailed descriptions of Project Poirot (i.e., the first,
                                                    second, and fourth sentences of paragraph 222);
                                                •   P. 147 (Fn. 517): The quote from GOOG-DOJ-10806862, regarding
                                                    Project Poirot;
                                                •   P. 147 (Fn. 519): Quotes from GOOG-AT-MDL-008842383, regarding
                                                    Project Poirot;
                                                •   P. 147 (Fn. 521): Quotes from GOOG-AT-MDL-008842383, regarding
                                                    Project Poirot;
                                                •   P. 148 (¶ 223): Detailed descriptions of Project Poirot (i.e., the first,
                                                    second, and third sentences of paragraph 223);




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Exhibit No.             Description                                            Basis for Sealing
                                                  •   P. 148-149 (¶ 224): Detailed descriptions of Project Poirot (i.e., the second,
                                                      third, and fourth sentences of paragraph 224);
                                                  •   P. 148 (Fn. 523): Detailed descriptions of Project Poirot (i.e., the text of
                                                      footnote 523, as well as the quotes from the document cited therein);
                                                  •   P. 148 (Fn. 525): Detailed descriptions of Project Poirot (i.e., the first and
                                                      second sentences of footnote 525);
                                                  •   P. 148 (Fn. 527): Detailed descriptions of Project Poirot (i.e., quotes from
                                                      GOOG-DOJ-15743853, as well as the second and third sentences of the
                                                      quotes from GOOG-DOJ-12059682);
                                                  •   P. 149 (Fn. 529): Quotes from GOOG-DOJ-12059682, regarding Project
                                                      Poirot.
                Document produced by
                                               As reflected in the public, redacted version filed herewith, Google requests
                Google in this matter, and
                                               limited redactions of certain non-public financial information of Google’s,
  PX 041        bearing Bates No. GOOG-
                                               including revenues and margins. Google’s proposed redactions are narrowly
                DOJ-AT-00858505 to
                                               targeted and would still allow the public to understand PX 041’s meaning.
                GOOG-DOJ-AT-00858508
                Document produced by           Google requests that the Court continue to seal PX 112, which is an email from
                Google in this matter, and     D. Harrison to M. Dauwalter, because it reflects highly sensitive business
  PX 112
                bearing Bates No. GOOG-        information and strategy.
                DOJ-1322135
                Excerpts from the Expert       Google requests limited redactions pertaining to market share analyses and
                Report of Robin S. Lee on      calculations based either entirely or in part on Google’s internal, non-public
  PX 116        behalf of Plaintiffs in this   proprietary data; and discussion of certain confidential pricing information.
                case, dated December 22,       Google’s proposed redactions are narrowly targeted and would still allow the
                2023.                          public to understand PX 116’s meaning.




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Exhibit No.             Description                                           Basis for Sealing
                Document produced by          Google requests that the Court continue to seal PX 126, which is a non-public,
                Google in this matter, and    internal document regarding Dynamic Revenue Share. The document contains
  PX 126
                bearing Bates No. GOOG-       proprietary and commercially sensitive business information, including product
                DOJ-13221355                  development strategy.
                Document produced by          As reflected in the public, redacted version filed herewith, Google requests
                Google in this matter, and    limited redactions pertaining to proprietary, non-public technical project design
  PX 128
                bearing Bates No. GOOG-       processes. Google’s proposed redactions are narrowly targeted and would still
                DOJ-AT-00573309               allow the public to understand PX 128’s meaning.
                                              Google’s requested redactions pertain to (1) certain non-public business strategy,
                                              financial, accounting, customer, and commercial information of Google’s; and (2)
                                              detailed charts containing market-share analyses and calculations based either
                                              entirely or in part on Google’s internal, non-public proprietary data. Google’s
                                              proposed redactions are narrowly targeted and would still allow the public to
                                              understand Lee Ex. A’s meaning.
                                              Specifically, Google seeks to keep the following portions of Lee Ex. A under seal:
                Excerpts from the Expert          ● P. 36 (¶ 76): Amount of spend on indirect transactions on DFP;
                Report of Robin S. Lee on         ● P. 37 (Fig. 16): Worldwide indirect and direct open-web display advertising
Lee Ex. A
                behalf of Plaintiffs, dated           spend on Google DoubleClick for Publishers;
                December 22, 2023                 ● P. 38 (Fig. 17): Worldwide indirect programmatic spending on open-web
                                                      display advertising by transaction type through Google’s AdX and
                                                      AdSense products;
                                                  ● P. 46 (n.108): Calculation based on Google’s internal, non-public
                                                      proprietary data about transactions;
                                                  ● P. 56 (¶ 125 & Fig. 23): Inventory source for Google Ads, worldwide, and
                                                      amount of display ad impressions Google Ads purchased through AdX or
                                                      AdSense;



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Exhibit No.         Description                                     Basis for Sealing
                                         ● P. 61 (¶ 138 & n.181): Proprietary and commercially sensitive business
                                           information about Google’s pricing;
                                         ● P. 63 (n.189): Proprietary and commercially sensitive business information
                                           about Google’s pricing;
                                         ● P. 109 (Fn. 354): The percentage of AdX web publishers that sold no
                                           mobile app or tablet app impressions in 2022;
                                         ● P. 110 (¶ 273): Average CPMs for DV360 and Google Ads in 2022;
                                         ● P. 110 (¶ 275): Average share of impressions derived from web pages in
                                           2022, among publishers using AdX who offer both web and mobile app
                                           inventory;
                                         ● P. 124 (¶ 305): Amount of Google’s revenues attributable to web
                                           advertising;
                                         ● P. 125 (¶ 307 & n.435): Indirect transactions’ annual share of web display
                                           advertising;
                                         ● P. 126 (Fig. 31): Indirect and direct share of worldwide impressions on DFP
                                           (2018-2022);
                                         ● P. 126 (n.436): Share of spend attributed to direct transactions on DFP;
                                         ● P. 128 (n.445): Share of open-web display impressions on DFP attributed
                                           to indirect transactions;
                                         ● P. 129 (Fig. 32): Average CPM of worldwide impressions on DFP by
                                           transaction type (2018-2022);
                                         ● P. 140 (n.497): Non-public information about publisher customers who use
                                           Ad Connector;
                                         ● P. 140 (n.498): Calculation based on number of AdSense transactions
                                           “backfilled” into DFP;




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Exhibit No.         Description                                    Basis for Sealing
                                        ● P. 148 (¶ 365): Proprietary and commercially sensitive business
                                          information about Google’s pricing;
                                        ● P. 149 (Fig. 34): Google Ads and DV360 indirect open-web display
                                          impressions by cost type (2022);
                                        ● P. 149 (¶ 369): Number of advertisers among advertisers that use Google
                                          Ads or DV360 who only use Google Ads;
                                        ● P. 150 (Fig. 35): Number of advertisers who used only Google Ads, only
                                          DV360, or both (2022);
                                        ● P. 151 (Fig. 36): Total advertiser spend on indirect open-web display
                                          advertising within Google Ads and DV360 (2022);
                                        ● P. 152 (Fig. 37): Average worldwide advertiser spend on indirect open-web
                                          display advertising within Google Ads and DV360 (2022);
                                        ● Pp. 152-153 (¶ 372 & n.533): Number and size of advertisers that spend on
                                          DV360;
                                        ● P. 153 (Fig. 38): Use of Google Ads and DV360 across Google Ads
                                          advertisers, by spending rank (2022);
                                        ● Pp. 154-155 (¶¶ 376-377): Spending and revenue made up of advertisers
                                          purchasing on Google Ads, DV360, and elsewhere;
                                        ● P. 161 (n.556): Google Ads revenue derived from various regions;
                                        ● P. 162 (n.559): Number of impressions transacted in certain geographical
                                          regions;
                                        ● P. 163 (¶ 405 & n.564): Amount of spend and impressions originating from
                                          United States on AdX and DV360;
                                        ● P. 184 (Fig. 45): Worldwide open-web display impressions served by
                                          publisher ad servers;




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Exhibit No.         Description                                    Basis for Sealing
                                        ● P. 189 (n.663): Discussion of Google’s current revenues from platform
                                          fees;
                                        ● P. 197 (Fn. 691): Quotes from the transcript of Jessica Mok’s deposition
                                          regarding Google’s accounting policy;
                                        ● P. 199 (Fig. 47): Shares of worldwide indirect open-web display
                                          impressions transacted through ad exchange;
                                        ● P. 200 (Fig. 48): Google AdX’s share of worldwide indirect open-web
                                          display impressions among ad exchanges in 2022;
                                        ● Pp. 200-201 (¶ 487): The proportions of display advertising transactions by
                                          U.S. publishers who engaged in indirect open-web advertising on AdX,
                                          AdSense, and DV360 that involve U.S. users;
                                        ● P. 204 (Fig. 50): AdX maintains a significant share of ad exchange fees
                                          from worldwide indirect open-web display transactions (2018-2022);
                                        ● P. 205 (Fig. 51): AdX and third-party ad exchanges’ shares of ad exchange
                                          fees from worldwide indirect open-web display transactions (2022);
                                        ● P. 214 (Fig. 54): Worldwide open-web indirect display take rates for ad
                                          exchanges, and AdX’s worldwide indirect open-web display market share
                                          (2018-2022);
                                        ● P. 215 (Fig. 55): Worldwide open-web indirect display take rates for AdX
                                          and third-party exchanges (average), and AdX’s worldwide indirect open-
                                          web display market share (2018-2022);
                                        ● P. 222 (Fig. 56): Google Ads has maintained a substantial share of
                                          worldwide indirect open-web display impressions among advertiser ad
                                          networks (2018-2022);




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Exhibit No.         Description                                      Basis for Sealing
                                        ● P. 223 (Fig. 57): Google Ads has maintained a substantial share of fees
                                          from worldwide indirect open-web display transactions among advertiser
                                          ad networks (2018-2022);
                                        ● P. 228 (¶ 542): Proprietary and commercially sensitive business
                                          information about Google’s pricing;
                                        ● P. 229 (¶¶ 547-548 & n.794): Results of simulation exercise run by Prof.
                                          Lee based on Google’s internal, non-public proprietary data;
                                        ● P. 260 (¶ 629): Percentage of non-Google inventory in Google Ads’
                                          impressions in 2022, as well as the statement reflecting this percentage (i.e.,
                                          the last sentence of paragraph 629);
                                        ● P. 260 (Fn. 885): Percentage of non-Google inventory in Google Ads’
                                          open-web impressions for U.S. advertisers in 2022;
                                        ● P. 261 (Fig. 66): Avenues of Google Ads’ purchases;
                                        ● P. 261 (¶ 630): AdX’s share of Google Ads’ worldwide indirect open-web
                                          display impressions on ad exchanges;
                                        ● P. 261 (¶ 630): Third-party exchanges’ share of Google Ads’ worldwide
                                          indirect open-web display impressions on ad exchanges;
                                        ● P. 261 (¶ 630): The percentage of the time when Google Ads (and AdX)
                                          wins the impression when it bids into an AdX auction;
                                        ● P. 261 (¶ 630): The percentage of the time when Google Ads wins the
                                          impression when it bids into a rival exchange;
                                        ● P. 261 (¶ 630): The statement that reflects the win rates when Google Ads
                                          bids into different ad exchanges (i.e., the last incomplete sentence in
                                          paragraph 630 on page 261);




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Exhibit No.         Description                                    Basis for Sealing
                                        ● P. 261 (Fn. 889): The statement that reflects the percentage of the time
                                          when Google Ads wins the impression when it bids into a rival exchange
                                          (i.e., the first sentence of footnote 889);
                                        ● P. 271 (¶¶ 651-655, nn.933-936): Calculations about Google Ads and AdX
                                          based on Google’s internal, non-public proprietary data, including about
                                          revenues;
                                        ● P. 272, Fig. 67: AdX Direct’s share of AdX worldwide indirect open-web
                                          display advertising revenue;
                                        ● P. C-6 (Fig. 83): Regression of CPM on indicator variables for transaction
                                          type (2022);
                                        ● P. C-6 (Fig. 84): Exchange impressions and spend by user and publisher
                                          location;
                                        ● P. C-7 (Fig. 85): Share of publisher ad server impressions by publisher
                                          location;
                                        ● P. C-7 (Fig. 86): Relative shares of indirect open-web display impressions
                                          by user and publisher location;
                                        ● P. C-7 (Fig. 87): Relative shares of indirect open-web display fees by user
                                          and publisher location;
                                        ● P. D-1 (Fig. 88): Summary of AdX’s worldwide indirect open-web display
                                          shares among ad exchanges;
                                        ● P. D-10 (Fig. 97): Summary of Google Ads’ worldwide indirect open-web
                                          display shares among advertiser ad networks, and among bidding tools
                                          (advertiser ad networks and DSPs);
                                        ● P. D-10 (Fig. 98): Summary of Google Ads’ US indirect open-web display
                                          shares among advertiser ad networks, and among bidding tools (advertiser
                                          ad networks and DSPs);




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Exhibit No.           Description                                            Basis for Sealing
                                                ● P. D-11 (Fig. 99): Google Ads has maintained a substantial share of US
                                                  indirect open-web display impressions in the ad network market;
                                                ● P. D-19 (Fig. 107): US open-web display impressions served by publisher
                                                  ad servers (2018-2022);
                                                ● P. D-20 (Fig. 108): Annual publisher ad-server impression shares with
                                                  additional parties, global and US.
                                             At this time, Google requests that the Court to keep the current version of Lee Ex.
                                             C under seal due to the potential inadvertent disclosure of privileged
              Document produced by           communications. See Fed. R. Evid. 502(b).
              Google in this matter,
Lee Ex. C                                    As to non-privileged portions of the document Google would only seek limited
              bearing Bates No. GOOG-
              AT-MDL-010689638               redactions of certain non-public financial and commercial information, including
                                             revenues and revenue shares. Google’s proposed redactions would be narrowly
                                             targeted and would still allow the public to understand Lee Ex. C’s meaning.
              Document produced by           As reflected in the public, redacted version filed herewith, Google requests
              Google in this matter,         limited redactions pertaining to calculations based on Google’s internal, non-
Lee Ex. D
              bearing Bates No. GOOG-        public proprietary data. Google’s proposed redactions are narrowly targeted and
              AT-MDL-006037366               would still allow the public to understand Lee Ex. D’s meaning.
                                             Google’s requested redactions pertain to certain detailed charts containing market-
                                             share analyses and other calculations based either entirely or in part on Google’s
                                             internal, non-public proprietary data. Google’s proposed redactions are narrowly
              Excerpts from the Expert
                                             targeted and would still allow the public to understand Lee Ex. E’s meaning.
              Rebuttal Report of Robin S.
Lee Ex. E                                    Specifically, Google seeks to keep the following portions of Lee Ex. E under seal:
              Lee on behalf of Plaintiffs,
              dated February 13, 2024.           ● P. 50 (Fig. 8): Google Ads has maintained a substantial share of worldwide
                                                     indirect open-web display impressions among advertiser ad networks;
                                                 ● P. 58 (Fig. 9): Cross-visitation analysis conducted by Dr. Israel;




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Exhibit No.         Description                                    Basis for Sealing
                                        ● P. 59 (¶ 159): Amount of Google Ads spending accounted for by advertiser
                                          buying both web and app impressions;
                                        ● P. 60 (Fig. 10): Google Ads US non-video display ad spending by app vs.
                                          web (2012-2022);
                                        ● P. 62 (Fig. 11): Google Ads US web display ad spending by instream video
                                          vs. other display (2013-2022);
                                        ● P. 62 (¶ 164): Amount of Google Ads advertiser spending associated with
                                          various types of advertisers;
                                        ● P. 65 (¶ 170): Proportion of open-web display impressions through DFP
                                          that were sold indirectly;
                                        ● P. 67 (¶ 179): Proportion of advertiser spend on DV360 attributable to
                                          indirect or direct transactions;
                                        ● P. 68 (¶ 180 & Fig. 12 & n.313): Distribution of DV360 US web non-video
                                          display ad spending by share of advertiser spend on indirect transactions
                                          (2022);
                                        ● P. 85 (Fig. 130): Estimates of AdX market shares among ad exchanges
                                          using Google and third-party data;
                                        ● P. 85 (¶ 245): Proportion of publishers who use Confiant’s services by
                                          impression;
                                        ● P. 114 (n. 524): Estimates of AdX market shares among ad exchanges using
                                          Google and third-party data;
                                        ● P. 119 (¶ 352): Amount of DV360 spend on various ad exchanges;
                                        ● P. 120 (Fig. 22): Ad exchanges with the highest DV360 spend, by user
                                          location (2022);




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Exhibit No.           Description                                           Basis for Sealing
                                              ● P. 120 (¶ 353 & Fig. 23): Advertiser ad networks with the highest AdX
                                                spend, by publisher location (2022);
                                              ● P. 161 (n.720): Proportion of revenue accounted for by “Non-Open
                                                Auction” transactions;
                                              ● P. 172 (Fig. 32 & n.755): Worldwide average advertiser ad network indirect
                                                open-web display fees (2018-2022);
                                              ● P. 172 (¶ 492): Amount of revenue transacted by Google Ads;
                                              ● P. B-27 (Fig. 89): Scale of Google Ads and DV360 in comparison to that
                                                of non-Google advertiser bidding tools, measured by spending on AdX;
                                              ● P. B-28 (Fig. 90): Scale of Google Ads and DV360 in comparison to that
                                                of non-Google advertiser bidding tools, measured by impressions
                                                purchased on AdX;
                                              ● P. B-29 (Fig. 91): Scale of AdX in comparison to that of non-Google
                                                exchanges participating in open bidding, measured by spending on GAM,
                                                worldwide (2022);
              Excerpts from the Expert
              Supplemental Report of       Google requests redaction of a chart (p. B-1, Fig. 6) containing market-share
Lee Ex. G     Robin S. Lee on behalf of    analyses and calculations based either entirely or in part on Google’s internal, non-
              Plaintiffs, dated March 4,   public proprietary data.
              2024.
              Document produced by
                                           Google requests that the Court continue to seal Lee Ex. M, which is an internal
              Google in this matter,
Lee Ex. M                                  presentation containing non-public financial information of Google’s, including
              bearing Bates No. GOOG-
                                           revenue trends.
              DOJ-11890293.




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Exhibit No.            Description                                           Basis for Sealing
               Document produced by
                                             Google requests limited redactions of certain non-public financial information of
               Google in this matter,
 Lee Ex. N                                   Google’s, including revenues. Google’s proposed redactions are narrowly
               bearing Bates No. GOOG-
                                             targeted and would still allow the public to understand Lee Ex. N’s meaning.
               DOJ-AT-01592535.
                                              Google’s requested redactions pertain to non-public competitively sensitive
                                              customer contract terms as well as analyses based on Google’s non-public
                                              proprietary data. Google’s proposed redactions are narrowly targeted and would
                                              still allow the public to understand Simcoe Ex. A’s meaning.
               Excerpts from the Expert
               Report of Timothy Simcoe       Specifically, Google seeks to keep the following portions of Simcoe Ex. A under
Simcoe Ex. A
               on behalf of Plaintiffs, dated seal:
               December 22, 2023.                  ● P. 33 (n.111): Summary of key terms of a competitively sensitive customer
                                                       contract;
                                                   ● P. 37 (n.123): Proportion of AdX impressions accounted for by ten largest
                                                       publishers.
                                             Google’s requested redactions pertain to (1) certain non-public, commercially
                                             sensitive discussion of business strategy; and (2) analyses of prices and margins
                                             based either entirely or in part on Google’s internal, non-public proprietary data.
                                             Google’s proposed redactions are narrowly targeted and would still allow the
               Excerpts from the Expert
                                             public to understand Simcoe Ex. D’s meaning.
               Report of Robin S. Lee on
Simcoe Ex. D                                 Specifically, Google seeks to keep the following portions of Simcoe Ex. D under
               behalf of Plaintiffs, dated
               December 22, 2023.            seal:
                                                 ● P. 217 (n. 745): Discussion of strategy for relaunching of RPO;
                                                 ● P. E-2 (Fig. 110): Summary of worldwide open-web indirect display take
                                                     rates among ad exchanges;




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    Exhibit No.             Description                                            Basis for Sealing
                                                       ● P. E-2 (Fig. 111): Summary of worldwide open-web indirect display
                                                         margins among ad networks.
                                                   Google’s requested redactions pertain to certain non-public financial information
                                                   of Google’s. Google’s proposed redactions are narrowly targeted and would still
                    Excerpts from the Expert       allow the public to understand Simcoe Ex. G’s meaning.
                    Rebuttal Report of Robin S.
    Simcoe Ex. G                                   Specifically, Google seeks to keep the following portions of Simcoe Ex. G under
                    Lee on behalf of Plaintiffs,
                                                   seal:
                    dated February 13, 2024.
                                                       ● P. 161 (n.720): Percent of gross revenue accounted for by “Non-Open
                                                           Auction” transactions
                                                   Google requests limited redactions pertaining to analyses based on Google’s
                                                   internal, non-public proprietary data. Google’s proposed redactions are narrowly
                                                   targeted and would still allow the public to understand Simcoe Ex. H’s meaning.
                    Excerpts from the Expert       Specifically, Google seeks to keep the following portions of Simcoe Ex. H under
                    Report of Mark A. Israel on    seal:
    Simcoe Ex. H
                    behalf of Google, dated
                    January 23, 2024.2                 ● P. 212 (¶ 271): Percentage of Ad’s Share of U.S. DFP Indirect Web
                                                           Display;
                                                       ● P. 212 (Figure 40): AdX Share of U.S. DFP Indirect Web Display (Non-
                                                           Video) Impressions (2019-2022).
                                                   Google requests limited redactions pertaining to discussion of internal,
    Simcoe Ex. J    Excerpts from the Expert       commercially sensitive results of Project Poirot experiments (P. 171-72 (¶¶ 247-
                    Report of Paul R. Milgrom      48)).



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  Due to the inclusion of third-party information, Google is not filing a proposed redacted version of Simcoe Ex. H in connection with
this response.



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     Exhibit No.             Description                                             Basis for Sealing
                    on behalf of Google, dated       Google’s proposed redactions are narrowly targeted and would still allow the
                    January 23, 2024.3               public to understand Simcoe Ex. J’s meaning.
                    Excerpts from the transcript
                    of the deposition of Jason       As reflected in the proposed redacted version filed herewith, Google requests
                    Hsueh in his capacity as a       limited redactions pertaining to discussions of commercially sensitive business
    Simcoe Ex. L
                    corporate representative of      strategy. Google’s proposed redactions are narrowly targeted and would still
                    Google, taken on November        allow the public to understand Simcoe Ex. L’s meaning.
                    15, 2023.
                                                     Google’s requested redactions pertain to (1) discussions of commercially sensitive
                                                     business strategy; and (2) certain non-public Google financial information.
                    Excerpts from the Expert         Google’s proposed redactions are narrowly targeted and would still allow the
                    Report of Gabriel                public to understand Simcoe Ex. M’s meaning.
    Simcoe Ex. M    Weintraub on behalf of
                                                     Specifically, Google seeks to keep the following portions of Simcoe Ex. M under
                    Plaintiffs in this case, dated
                                                     seal:
                    December 22, 2023.
                                                         ● P. 163 (n.258): Discussion of details of commercially sensitive
                                                             experiments run by Google.
                                                     Google’s proposed redactions pertain to certain non-public financial, accounting,
                    Excerpts from the Expert         technical, and commercial information of Google’s. Google’s proposed redactions
                    Rebuttal Report of Adoria        are narrowly targeted and would still allow the public to understand Lim Ex. A’s
     Lim Ex. A      Lim, on behalf of Plaintiffs     meaning.
                    in this case, dated February
                    13, 2024.                        Specifically, Google seeks the following information in Lim Ex. A to be kept under
                                                     seal:



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  Due to the inclusion of third-party information, Google is not filing a proposed redacted version of Simcoe Ex. J in connection with
this response.



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Exhibit No.           Description                                           Basis for Sealing
                                               ● P. 4 (¶ 14): non-public profitability margin information regarding
                                                 Google’s DVAA Product Area;
                                               ● Pp. 7-8 (¶¶ 22-23 & nn. 25-27): details regarding Google’s specific
                                                 preparation of financial reports for internal purposes and deposition
                                                 excerpts regarding the same;
                                               ● P. 17 (¶ 35 & nn. 56-58): Quotes from Google’s internal, proprietary
                                                 financial and accounting documents, including accounting memoranda;
                                               ● P. 54 (¶ 108): A direct quote from Google’s non-public accounting policy
                                                 document;
                                               ● P. 55-56 (¶ 109): Direct quotes from Google’s non-public, internal
                                                 financial profit and loss statements;
                                               ● P. 56 (Fig. 30): Modified DVAA P&L (2014-2022).
                                            Google’s proposed redactions pertain to certain non-public financial, accounting,
                                            technical, and commercial information of Google’s. Google’s proposed redactions
                                            are narrowly targeted and would still allow the public to understand Lim Ex. B’s
                                            meaning.
                                            Specifically, Google seeks the following information in Lim Ex. A to be kept under
              Excerpts from the Expert      seal:
              Report of Dr. Thomas S.
                                                ● P. 29 (Fig. 13): AdX Revenues and Actual Take through DV360 and
Lim Ex. B     Respess III, on behalf of
                                                    Google Ads subject to Respess product market filters worldwide and U.S.
              Plaintiffs , dated December
                                                    advertisers, January 25, 2019 - January 24, 2023;
              22, 2024.
                                                ● P. 31 (Fig. 15): AdX overcharge to worldwide and United States
                                                    advertisers and publishers, January 25, 2019 - January 24, 2023;
                                                ● P. 38 (¶ 84 & n.63): details regarding Google’s financial and accounting
                                                    practices derived from Google’s internal, proprietary financial statements
                                                    and accounting documents;



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Exhibit No.         Description                                     Basis for Sealing
                                        ● P. 39 (Fig. 21): Google services management structure;
                                        ● P. 39-40 (¶ 86): details regarding Google’s financial and accounting
                                          practices derived from Google’s internal, proprietary financial statements
                                          and accounting documents;
                                        ● P.40 (Fig. 22): Google’s accounting terms;
                                        ● P. 41 (¶ 87): details regarding Google’s booked revenues, gross profits, and
                                          operating profits from 2014 through 2022;
                                        ● P. 42 (Fig. 23): Profit & Loss Statement (2014-2022);
                                        ● P. 42 (¶ 88 & n.78): Profit and loss data from 2014 – 2022;
                                        ● P. 43 (Fig. 24): Profit & Loss Statement (2014-2022);
                                        ● P. 43 (¶ 89): Profit and loss data from 2014 – 2022;
                                        ● P. 44-46 (¶¶ 90-93 & nn. 80-81, n.83): detailed description of Google’s
                                          non-public, proprietary financial and accounting statements;
                                        ● P. 45 (Fig. 25): excerpt from Google’s internal, non-public, proprietary
                                          financial statement;
                                        ● P. 46 (Fig. 26): excerpt from Google’s internal, non-public, proprietary
                                          finance and accounting presentation;
                                        ● P. 47 (Fig. 27): Example changes of cost allocation buyside/sellside view
                                          to MECE view;
                                        ● P. 47-48 (¶¶ 94-97 & n.89): detailed description of Google’s financial and
                                          accounting practices derived from Google’s internal, proprietary financial
                                          statements and accounting documents;
                                        ● Pp. 49-51 (¶¶ 98-100 & n. 91, 94, 96): detailed description of Google’s
                                          financial data from 2014 through 2022 and finance and accounting




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Exhibit No.           Description                                             Basis for Sealing
                                                     practices, derived from Google’s internal, proprietary financial statements
                                                     and accounting documents;
                                                 ●   P. 49 (Fig. 28): Profit & Loss Statement (2014-2022);
                                                 ●   P. 55-56 (¶ 109): detailed description of Google’s financial data and
                                                     finance and accounting practices, derived from Google’s internal,
                                                     proprietary financial statements and accounting documents;
                                                 ●   P. 56 (¶ 110): Google’s financial data from 2014 through 2022, including
                                                     operating profit margins;
                                                 ●   P. 56 (Fig. 30): Profit & Loss Statement (2014-2022).
              Excerpt of Google’s
              supplemental response to        Google requests that the Court continue to seal Lim Ex. D, which includes
Lim Ex. D
              Plaintiffs’ Interrogatory No.   descriptions of Google’s internal finance and accounting processes.
              3.
                                              Google requests limited redactions of certain non-public, proprietary information
              Excerpt from the deposition     regarding Google’s internal financial audits. Google’s proposed redactions are
Lim Ex. E     transcript of Adoria Lim,       narrowly targeted and would still allow the public to understand Lim Ex. E’s
              dated February 29, 2024         meaning.
                                              Specifically, Google requests that Tr. 318:12-20 remain under seal.

              Excerpts from the Expert        Google’s proposed redactions pertain to Google’s non-public, proprietary pricing
              Report of Robin S. Lee on       strategy. Google’s proposed redactions are narrowly targeted and would still allow
Lim Ex. M     behalf of Plaintiffs in this    the public to understand Lim Ex. M’s meaning.
              case, dated December 22,        Specifically, Google requests that P. 224 (¶ 535) be kept under seal because it
              2023.                           contains details regarding Google Ads’s target margins.

Lim Ex. N     Excerpts from the Expert        As reflected in the proposed redacted version filed herewith, Google requests a
              Report of Mark A. Israel on     limited redaction of certain non-public financial and commercial information,



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  Exhibit No.             Description                                           Basis for Sealing
                  behalf of Google in this      including Google’s operating profit from 2015-2017. Google’s proposed
                  case, dated January 23,       redactions are narrowly targeted and would still allow the public to understand Lim
                  2024.                         Ex. N’s meaning.
                                                Google’s proposed redactions pertain to Google’s non-public, proprietary security
                  Excerpts from the Expert      processes. Google’s proposed redactions are narrowly targeted and would still
                  Report of Wenke Lee on        allow the public to understand Ferrante Ex. E’s meaning.
Ferrante Ex. E
                  behalf of Plaintiffs, dated
                  February 13, 2024.            Specifically, Google requests that P. 22 (¶ 69 n.47) be kept under seal because it
                                                contains details regarding Google’s non-public, proprietary security process.
                                              Google’s proposed redactions pertain to Google’s non-public, proprietary
                                              customer revenue data. Google’s proposed redactions are narrowly targeted and
                                              would still allow the public to understand Simonson Ex. C’s meaning.
               Excerpts from the Expert       Specifically, Google seeks the following information in Simonson Ex. C to be kept
               Report of Wayne D. Hoyer       under seal:
Simonson Ex. C
               on behalf of Plaintiffs, dated     ● P. 37 (¶ 66(b) & n.114): details regarding Google’s revenue from U.S.
               February 13, 2024.                    advertising agencies;
                                                  ● P. 38 (¶ 68 & nn. 119, 121): details regarding Google’s revenue from top
                                                     advertiser customers.


               Document produced by
                                                Google requests that the Court continue to seal Simonson Ex. D, which is a non-
               Google in this matter, and
Simonson Ex. D                                  public, internal document containing proprietary business strategy and customer
               bearing Bates No. GOOG-
                                                revenue statistics.
               AT-MDL-008285890
                                                Google requests that the Court continue to seal Simonson Ex. E, which is a non-
Simonson Ex. E    Document produced by          public, internal document containing proprietary business strategy and customer
                  Google in this matter, and    revenue statistics.




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      Exhibit No.           Description                                            Basis for Sealing
                     bearing Bates No. GOOG-
                     AT-MDL-011124130
                     Document produced by
                                                   Google requests that the Court continue to seal Simonson Ex. F, which is a non-
                     Google in this matter, and
    Simonson Ex. F                                 public, internal document containing proprietary business strategy and customer
                     bearing Bates No. GOOG-
                                                   revenue statistics.
                     AT-MDL-011120632
                   Document produced by
                                                   Google requests that the Court continue to seal Simonson Ex. G which is a non-
                   Google in this matter, and
    Simonson Ex. G                                 public, internal document containing proprietary business strategy and customer
                   bearing Bates No. GOOG-
                                                   revenue statistics.
                   DOJ-03047055
                                                   Google requests a limited redaction of certain non-public, proprietary information,
                                                   including detailed information regarding advertiser spending on Google’s
                                                   platforms derived from Google’s internal, non-public, proprietary data.
                                                   Specifically, Google seeks the following information in Simonson Exhibit C to be
                   Excerpts from the Expert        kept under seal:
                   Report of Mark A. Israel on         ● P. 142 (n. 201): Discussion of percentages of Google Ads advertiser spend
    Simonson Ex. H behalf of Google in this            ● P. 144 (n. 206): Discussion of AdX customer spending
                   case, dated January 23,
                   20244                               ● P. 145 (Table 1): AdX U.S. Spending Patterns for Selected Advertisers,
                                                          2019-2022
                                                       ● P. 145 (n. 207) :Discussion of AdX customer spending
                                                       ● P. 147 (Table 2): Google Ads and DV360 Spending by Advertiser Size,
                                                          2022


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 Due to the inclusion of third-party information, Google is not filing a proposed redacted version of Simonson Ex. H in connection
with this response.



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  Exhibit No.          Description                                     Basis for Sealing
                                           ● P. 160 (Figure 20): Distribution of DV360 U.S. Web Non-Video Display
                                             Ad Spending by Advertiser Use
                                           ● P. 194 (Figure 34): Distribution of Google Ads U.S. Non-Video Display
                                             Ad Spending
                                           ● P. 197 (Figure 37): Distribution of Google Ads U.S. Non-Video Display
                                             Ad Spending
               Excerpts from the        Google requests a limited redaction of certain non-public, proprietary commercial
               Deposition of Wayne D.   information, including a reference to certain of Google Ads’s largest advertising
Simonson Ex. N
               Hoyer, dated March 4,    customers. Google’s proposed redactions are narrowly targeted and would still
               2024.                    allow the public to understand Simonson Ex. N’s meaning.




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